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                        IN THE UNITED STATES DISTRICT COURT
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                                                                                        JAN 242019
                       FOR THE EASTERN DISTRICT OF VIRGINIA                                                 zJ
                                       Richmond Division
                                                                                   CLERK, U.S. DISTRICT COURT
                                                                                         RICHMOND. VA
 UNITED STATES OF AMERICA

 V.                                                                  Criminal No. 3:13CR04


 MARION W. CARTER, JR.,

        Petitioner.


                                  MEMORANDUM OPINION


        Marion W. Carter, Jr., a federal inmate proceeding pro se, submitted this motion under 28

 U.S.C. § 2255 to vacate, set aside, or correct his sentence ("Pro se § 2255 Motion," ECF

 No. 109). Carter later moved to file supplemental pleadings and to add a claim pursuant to

 Johnson v. United States, 135 S. Ct. 2551 (2015). (ECF No. 119.) After the Court already had

 served the Government, and the Government had filed its initial response, the Court appointed

 counsel for Carter, and directed counsel to file "any amended § 2255 Motion that includes all

 claims [that Carter] wishes to raise by way of § 2255." (ECF No. 122, at 1.) Subsequently,

 counsel filed a "Motion for Leave to File Supplemen[tal] Claims, Supportive Facts and

 Memorandum of Law in Support of § 2255," that, in accordance with its prior Memorandum

 Order, the Court construed as the Amended § 2255 Motion ("§ 2255 Motion," ECF No. 130-1;

 see ECF No. 135,at 1).' By Memorandum Order entered on February 20,2018, the Court

 explicitly stated that the § 2255 Motion supplanted all other versions of the § 2255 motion or any




        ' TheCourt previously explained to Carter thatthis § 2255 Motion supplants all other
 versions of the § 2255 motion or any supplements. The Court also specifically noted that it
 would "only consider those arguments raised in the § 2255 Motion filed by counsel (ECF
 No. 130-1) and will not consider any document or exhibit attached to any supplement or any
 other version of the § 2255." (ECF No. 135, at 2; see also ECF No. 138, at 1-2.)
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